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FENNEMORE CRAIG, P.C.

Brenoch R. Wirthlin (Nevada Bar No. 10282)
K.evin Hejmanowski (Nevada Bar No. 10612)
300 South Fourth Street, Suite 1400

Las Vegas, Nevada 89101

Telephone: (702) 692-8000

Facsimile: (702) 692-8099

Email: bwirl'hljn{r`i`lliclaw.com

Attorneysfor Defendants

UNITED STATES DISTRICT COURT

 

 

 

DISTRICT OF NEVADA
BART STREET III, a Nebraska Limited Case No. 2:17-cv-00083-GMN-VCF
Liability Company,
Plaintit`lj`,

V- _DEF_ENDANTS ACC ENTERPRISES.
ACC ENTERPRISES, LLC, a Nevada LL(" A;;;$F:l`ln:.g[]])bl§§[ll];§' INC' §
Limited Liability Company; ACC
INDUSTRIES, INC., a Nevada corporation;
CALVADA PARTNERS, LLC, a Nevada [Oral Argument Requested]
Limited Liability Company, LR 78-1

Defendants.

 

 

 

Defendants ACC Enterprises, LLC and ACC Industries, Inc. (collectively the “ACC
Entities” or “Defendants”), by and through counsel, Fennemore Craig, P.C., hereby submit their
motion to dismiss plaintiff Bart Street lll’s (“Bart Street” or “Plaintifi”) on the bases set forth
herein. This motion is brought pursuant to FRCP lZ(b)(l), 12(b)(6), lZ(b)(7) and FRCP l9, and is
based on the attached memorandum of points and authorities, all exhibits attached thereto, any oral
argument the Court chooses to entertain, and all papers and pleadings on file herein.

DATED this 24th day Of March, 2017.

FEWW
BY \___/"'J//]
noe 'Ft|'l ' 1 (Nevada Bar No. 10282)
Kcvin Hej mario Ski (Nevada Bar No. 10612)
Attorneysfor efendant Calvada Partners, LLC

 

 

 

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MEMORANDUM OF POINTS AND AUTHORITIES
I. INTRODUCTION AND SUMMARY OF ARGUMENT

Defendants’ Motion should be granted for several reasons:

M, under FRCP 19(a)(1)(A), an absent party is a necessary party if “in that person’s
absence, the court cannot accord complete relief among existing parties.” However, Plaintiff’s
Complaint is misleadingly fails to acknowledge that the Defendants Will be unable to pursue their
counterclaims against Solutionary, Inc. (“Solutionary”)l, including but not limited to breach of oral
contract and breach of the covenant of good faith and fair dealing for failing to follow through with
the agreement to provide further funding to Defendants as set forth in the Motion and herein. There
is no dispute that Steven ldelman (“Idelman”), principal of Plaintiff, corresponded with Defendants

on multiple occasions through email using a signature block on his email which included the email

 

address steveirlelman(r_ilso|utionnry.com. Further, there is no question that as a matter of law,
Solutionary was only dissolved as a Nevada corporation in December, 2012. Thus, under Nevada’s
statutes governing corporations Solutionary can be both revived and renewed by simply filing a
few documents and paying the proper fees.

M, while an absent party may, under certain circumstances, be an entity who “claims an
interest relating to the subject of the action” under FRCP l9(a)(l)(B), that is only one of multiple
ways an entity can be a necessary party to an action. Further, as noted above, the fact that
Solutionary is not mentioned on the notes is irrelevant as this case centers around a subsequent oral
modification of the parties original agreement, and Solutionary Was involved in that modification

Further, despite Plaintiff’s failure to admit the truth, there is significant email
correspondence from ldelman to Defendants in which ldelman admits that he did agree to “prorated

equity with caveat [sic] that our debt piece conversion rights are good regardless of When we

 

1 As noted in the Motion, and as Plaintiff deliberately omits, ldelman did not mention by name the
Nevada entity which was a necessary part of the subsequent oral modification to the parties’ loan
agreements During the negotiations regarding the subsequent oral modification, ldelman
corresponded with Defendants with a signature block Which included the email address
stevcidellnnn(r':\solutionary.com. For ease of reference the entity at issue will be referred to as
Solutionary, although Calvada expressly reserves the right to request and conduct jurisdictional
discovery and amend any pleadings necessary to assert the true name of the entity at issue.

 

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convert and that if you needed to raise more money then we would have right of first refusal and if
we didn’t convert the [sic] any future dilution Would come from you and Howard.” See
Exhibit 12 hereto (emphasis added), August 29, 2016 email correspondence from ldelman to Pete
Seltzer (principal of Calvada) and Howard Misle (principle of the ACC Entities) (referred to herein
as the “August 2016 Email”). Why would Idelman, principle of Bart Street, be discussing w
M if, as Bart Street currently claims, this was merely a loan transaction and no subsequent
oral modification of the parties’ agreement took place? And, in fact, Idelman’s August 2016 Email
Was in response to an email from Mr. Seltzer earlier that day in which Mr. Seltzer points out that he
was told that the “9 [million dollar] equity deal had changed to 6 [million] equity and 3 [million]
debt which Howard [Misle] agreed too [sic]. In this email I clearly stated we are ok with this but
needed to pro rate the percentage then as original deal called for 20% for 9 [million] and now it was
only 6 [million].” Ia'. ldelman's response confirms the parties l_i@ orallyr modified the or§gM
loan agreement. In fact, ldelman specifically says that he “did agree to prorated eauitv...” Ia'.
Clearly the parties are talking about an agreement which is different than that alleged in Bart
Street’s complaint which only involves, according to Bart Street, two loans totaling $4.7 million
See Complaint at 11 13 (loan of $3.5 million) and 11 22 (loan of $1.2 million). Yet, in the August
2016 Email ldelman is clearly acknowledging the agreement between the parties for a total of §
M Strangely enough, this modified agreement is never mentioned in Plaintiff’s Complaint.
Why? Because Plaintiff is attempting to evade its oral modification to the parties’ agreement, an
oral modification that included a total of $9 million and the participation of Solutionary, Which
would destroy diversity jurisdiction

M, while NRS § 78.585(1) provides for a three year statute of limitations for dissolved
corporations for events that occurred prior to dissolution this cannot apply to actions taken after
dissolution in anticipation of revival and reinstatement Otherwise a corporation could be
dissolved, wait three years, then be revived and reinstated with no potential future liability
whatsoever.

M, Solutionary is absolutely an indispensable party to this litigation While the term

‘indispensable’ has similarly been removed from the text of Rule 19, courts still use it as shorthand

 

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for whether dismissal under Rule 19(b) is Warranted.” B. Fernandez & Hnos, Inc. v. Kellogg USA,
Inc., 516 F.3d 18, 23 (lst Cir. 2008) (quoting FED. R. CIV. P. 19(b)). Further, without Solutionary
being joined as a party Defendants will be unable to pursue their counterclaims against Solutionary
for breach of the parties’ subsequent oral modification of the original agreement, and therefore
Plaintiff"s Complaint must be dismissed as Solutionary is a necessary and indispensable

Eith, under the Colorado Rz'ver and Burford doctrines this Court should dismiss the instant
case as a concurrent state court case is pending and the issues involved in this case are inextricably
intertwined With Nevada’s new laws legalizing recreational marijuana.2

m, the Plaintiff’ s case should be dismissed pursuant to FRCP l2(b)(6) for failure to state
a claim because the purported contractual breaches alleged by Plaintiff would necessarily require
this Court to enforce an illegal contract and because the contracts themselves limit the acts which

can constitute breach of the contracts, none of which Plaintiff has alleged.

II. STATEMENT OF FACTS

1. Calvada Partners, LLC (“Calvada”), defendant herein, along with the ACC Entities,
owns and operates a marijuana cultivation plant in Pahrump, Nevada. Currently ACC Industries
owns a license to operate a marijuana growhouse. In order to fund operations of Defendants’
business, ACC Industries entered into that certain loan agreement with a lender Beverly Pacific,
whose successor in interest is Vert Holdings, LLC (“BP”) in the amount $2,000,000 on or around
March 15, 2016 (“March 2016 Loan”). See Declaration of Howard Misle (“Misle Declaration”),
attached hereto as Exhibit 1, at 11 3; see also Declaration of Pete Seltzer (“Seltzer Declaration” and
collectively the “Declarations”), attached hereto as Exhibit 2, at 11 2.

2. On or around May 27, 2016, ACC Enterprises and ACC Industries entered into that
certain Asset Contribution Agreement pursuant to which ACC Industries transferred its assets to

ACC Enterprises. A true and correct copy of the Asset Contribution Agreement is attached hereto

as Exhibit 3.

 

2 On November 8, 2016, Nevada voters approved Question 2, Which legalizes, regulates and taxes
recreational marijuana throughout the state. See also NRS 453A.010 et seq. which legalizes

medical marij uana.

 

 

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3. Because Defendants needed additional funding to grow their business, they entered
into negotiations with Steve Idelman, principal of Bart Street and, on information and belief,
believed to own or control Solutionary, Inc. (“Solutionary”)[l] for additional capital to fund
Defendants’ Pahrump business. See the Declarations at 1[ 3.

4. Steve ldelman (“ldelman”), the principal of Bart Street was a friend of the family
member of Howard Misle’s (“Misle”), principal of the ACC Entities. Id. at 11 4.

5. On July 8, 2016, Pete Seltzer (“Seltzer”), principal of Calvada, sent an email to
ldelman with details of the Defendants’ anticipated business sales and other details regarding the
Defendants’ marijuana growing business. See Exhibit 4. Seltzer’s email included several
marijuana related terms. Id. Seltzer’s email also included several spreadsheets regarding the
Defendants’ business plan for a marijuana growing business which also included several marijuana
related terms. Id.

6. In response, ldelman thanked Seltzer and stated he would get back to Seltzer and
Misle the next week. Id.

7. On July 12, 2016, Seltzer again emailed ldelman discussing the Defendants’
marijuana growing business, and ldelman again responded thanking Seltzer for the information Id.

8. On July 15, 2016, Seltzer sent an email to ldelman with a link to an article regarding
“Why California voters and others will say yes to marijuana”. See Exhibit 5. Idelaman’s response
was “Awesome!” Id. ldelman also added Sean Mullen (“Mullen”), Plaintiff"s attorney or
consultant, to this email response as well. Id.

9. Also during the time of these emails, Misle and Seltzer discussed the Defendants’
marijuana business many times with ldelman and Mullen, making very clear that the Defendants’
business was the growing and sale of marijuana See Declarations at 11 5.

10. On August 8, 2016, Seltzer sent an email to Mullen setting out more details of the

Defendants’ marijuana business plan and stating specifically as folloWs:

 

m As set forth in previous pleadings, Defendants believe that the Nevada entity ldelman mentioned
as part of the parties’ agreement may have been Solutionary; however, Defendants reserve the
right to request and conduct discovery regarding the actual name of said entity, against whom
Defendants Will assert various counterclaims

 

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*LASTLY, PLEASE REMEMBER THAT THE RECREATIONAL VOTE
OCCURS THIS NOV 2016 AND IS EXPECTED TO PASS. AS AGREED
UPON AT OUR MEETING IN PAHRUMP LAST WEEK, WE ESTIMATED A 6
MONTH PERIOD TO WRITE RULES AND IMPLEMENT THEM FOR
RECREATIONAL. THUS AROUND MID 2017 IT SHOULD BECOME MUCH
EASIER TO SELL OUR PRODUCT AS WE WILL HAVE 50 MILLION
POTENTIAL CUSTOMERS ANNUALLY TO LAS VEGAS AND ANYONE
OVER 21 WITH DRIVERS LICENSE CAN BUY

A. WHEN THIS OCCURS, BLUNT SALES SHOULD GO UP AS WELL
SINCE VISITORS WILL WANT QUICK EASY INSTANT GRATIFICATION AS
OPPOSSED TO BUYING JUST FLOWER.

B. THE NEVADA STATE PUBLIC HEALTH DEPT. HAS STATED AN 18

MONTH MORATORIUM ON NO NEW LICENSES TO CULTIVATE ONCE
RECREATIONAL PASSES.

E. TO REACH CULIVATION REVENUE STAGE TAKES AT LEAST 5

MONTHS SINCE YOU MUST START WITH A SEED
See Exhibit 6 (emphasis added).

11. On August 9, 2016, the parties exchanged emails setting a time to discuss the deal.
See Exhibit 7. During that phone call, the parties again discussed the fact that the Defendants’
business was the growing and sale of marijuana. See Declarations at 11 6.

12. On August 17, 2016, Seltzer again emailed Mullen regarding the Defendants’
marijuana business and discussing the possible use of the proceeds from the anticipated loan from
Plaintiff to purchase, among other things, “blunt machines” and working capital for the Defendants’
marijuana growing business. See Exhibit 8. Mullen responds stating that the funding for the
Defendants’ marijuana business is “locked in for Friday.” Ia'.

13. On August 18, 2016, ldelman emailed Pete Seltzer, principal of Calvada (“Seltzer”)
and Misle stating that it was “Awesome! ! !” and “Truly excellent news” that Defendants were able to
grow and sell marijuana in various states based on a recent court ruling. See Exhibit 9 hereto.
ldelman and Sean Mullen (“Mullen”) were well aware that Defendants’ business was growing
marijuana Further, in said email ldelman used the same signature block he had used many times in
corresponding With Defendants which included the email address steveide|m1111{£1`250liltio:uli'y.cc)lii.
Id. (including various other emails in which ldelman used the Solutionary email address in his

signature block).

 

 

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14. On or around August 19, 2016, ACC Industries and ACC Enterprises as borrowers,
and Bart Street, as lender, executed that certain promissory note in the amount of $3,500,000
(“August Note”). A copy of the August Note is attached hereto as Exhibit 10. Bart Street drafted
the August Note. See Declarations at 11 7.

15. The August Note had an effective date of August 19, 2016. Id.

16. Pursuant to the terms of the August Note Bart Street agreed to lend ACC Industries
and ACC Enterprises the amount of $3,500,000. Id.

17. The terms of the August Note provided potential uses for the money loaned pursuant
to the Note. However, nowhere does the August Note require that the advanced funds be used in the
potential manner set forth in the August Note. Id.

18. Further, at no time had the parties to the August Note ever stated or required that the
money advanced pursuant to the August Note be used in the potential manner set forth in the August

Note. See Declarations at 11 8.

19. The terms of the August Note provide that repayment of the August Note was not
required to take place until September 1, 2017. Id. at 11 1.

20. Section 5 of the August Note provides the following regarding default:

5. Default. If there shall be any event of default hereunder, at the option and upon
written notice to the Borrower, this Note shall accelerate and all principal and unpaid
accrued interest shall become due and payable. The occurrence of any one or more
of the following shall constitute an event of default:

a. The Borrower fails to pay timely any of the principal amount due
under this Note on the date the same becomes due and payable or any accrued
interest or other amounts due under this Note on the date the same becomes due and
payable;

b. The Borrower files any petition or action for relief under any
bankruptcy, reorganization insolvency or moratorium law or any other law for the
relief of, or relating to, debtors, now or hereafter in effect, or makes any assignment
for the benefit of creditors or takes any corporate action in furtherance of any of the
foregoing;

c. An involuntary petition is filed against the Borrower (unless such
petition is dismissed or discharged within sixty (60) days under any bankruptcy
statute now or hereafter 1n effect, or a custodian receiver, trustee, assignee for the
benefit of creditors (or other similar official) 1s appointed to take possession, custody
or control of any property of the Borrower; or [sic]

 

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21. No other actions or events are listed as constituting an event of default under the
August Note. Id.

22. The August Note contains a paragraph 10 which is entitled “Modification; Waiver.”
However, the August Note contains no prohibition against oral modification and contains no merger
or integration clause. Id.

23. The August Note also contains a paragraph regarding right of first refusal Which
provides as follows:

12. Right of First Refusal. During the period of time that there is any outstanding

principal or interest due under this Note, at the option of the Holder, the Holder shall

have a First Right of Refusal to participate and obtain fully paid and non-assessable

Units or Shares of either or both ACC INDUSTRIES, INC. and ACC

ENTERPRISES, LLC.

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24. While the August Note did not specifically require that the money loaned be used in
the manner set forth in the loan itself, the loan clearly contemplated and stated that at least a portion
of those funds would be used as “Operating Capital”l for Defendants to operate their marijuana
growhouse, and set forth the possible uses of the funds loaned as follows:

$725,000.00 to Borrower as Operating Capital [for marijuana business];
$25,000.00 to Holder as due diligence costs;
$2,200,000.00 to Beverly Pacific, LLC;
$275,000.00 to Insight Medica, LLC;
$275,000.00 to Hill Health, LLC;
For a total loan amount of $3,500,000.00.
See Exhibit 10 at p. 1.

25. Defendants informed Plaintiff from the beginning of the negotiations that the money
they sought Was to operate their marijuana business in Pahrump, See Declarations at 11 9.

26. The $725,000.00 was set out in the Note as operating capital for Defendants’

marijuana business. Id. The money from the August loan that Was referenced regarding Insight

Medica, LLC and Hill Health, LLC was to pay off loans to those entities in order to facilitate the

 

 

 

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operation of Defendants’ marijuana business. Id. Defendants made this clear to Plaintiff very early
on in the negotiations and well before the August Note was signed. See Declarations at11 10.

27. The terms of the August Note provide that repayment of the August Note was not
required to take place until September 1, 2017. Id. at 11 1.

28. The August Note also contains a paragraph regarding the governing law the parties
selected which provides as follows:

9. Governing Law. This Note shall be governed by and construed under the laws of

the State of Nevada, as applied to agreements among Nevada residents, made

and to be performed entirely within the State of Nevada, without giving effect to

conflicts of laws principles.

See Exhibit 10 at 11 9 (second emphasis added).

29. On August 22, 2016, ldelman and Mullen each sent an email to Defendants stating
that ldelman and Mullen wanted “protection against dilution” See Exhibit 11. This email
confirmed the parties’ conversation that their agreement had been orally modified to provide for
Bart Street to obtain equity in ACC Enterprises, rather than simply a loan. See Declarations at 11 10.

30. On August 29, 2016, ldelman sent an email to Seltzer and Misle admitting that he
had agreed to “prorated equity with caveat that our debt piece conversion rights are good regardless
of when we convert and that if you needed to raise more money then We would have right of first
refusal and if we didn’t convert the [sic] any future dilution would come from you and Howard.”
See Exhibit 12.

31. In his August 29, 2016 email ldelman confirmed the parties’ oral agreement that
BP’s debt would be converted into equity in ACC Enterprises. Defendants disclosed to ldelman that
they intended to convert BP’s debt into equity into ACC Enterprises consistent with a right of first
refusal. In response, ldelman exercised his purported right of refusal and stated to Misle, “I don’t
give a damn what you guys do With keeping BP in the deal as long as we’re not diluted and it comes
from your end only.” See Misle Declaration at 11 10.

32. Further, in a subsequent call between Idelman, Seltzer and Misle, ldelman again

stated that he agreed to the conversion of BP’s debt to equity in ACC Enterprises. See Declarations

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33. Further, Idelman’s August 29, 2016 email was acknowledgment and admission in
response to an email from Seltzer stating that the deal between the parties included six (6) million
dollars coming from Bart Street and Solutionary as equity in ACC Enterprises and three (3) million
dollars coming from Bart Street and Solutionary as debt. Id.

34. On or around September 6, 2016, ACC Industries, ACC Enterprises, and Calvada
Partners, as borrowers, and Bart Street, as lender, executed that certain Promissory Note dated
September 6, 2016 (“September Note”) attached as Exhibit 13. Bart Street drafted the September
Note. See Declarations at 11 12.

35. Pursuant to the terms of the September Note Bart Street agreed to lend ACC
Industries, ACC Enterprises and Calvada the amount of $1,200,000. Id.

36. The terms of the September Note provided potential uses for the money loaned
pursuant to the Note. However, nowhere does the September Note require that the advanced funds
be used in the potential manner set forth in the September Note.

37. One of the potential uses of the funds provided to Defendants under the September
Note included “$700,000.00 to acquire Parcel #040-041-34” (“Parcel 34”). However, no time frame
whatsoever was provided in the September Note for purchase of Parcel 34.

38. The terms of the September Note provide that repayment of the September Note was
not required to take place until September 1, 2017. Id. at 11 1.

39. Section 5 of the September Note provides the following regarding default:

5. Default. If there shall be any event of default hereunder, at the option and upon

written notice to the Borrower, this Note shall accelerate and all principal and unpaid

accrued interest shall become due and payable. The occurrence of any one or more

of the following shall constitute an event of default:

a. The Borrower fails to pay timely any of the principal amount due

under this Note on the date the same becomes due and payable or any accrued
interest or other amounts due under this Note on the date the same becomes due and

payable;

b. The Borrower files any petition or action for relief under any
bankruptcy, reorganization insolvency or moratorium law or any other law for the
relief of, or relating to, debtors, now or hereafter in effect, or makes any assignment
for the benefit of creditors or takes any corporate action in furtherance of any of the
foregoing;

c An involuntary petition is filed against the Borrower (unless such
petition is dismissed or discharged within sixty (60) days under any bankruptcy

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statute now or hereafter in effect, or a custodian receiver, trustee, assignee for the

benefit of creditors (or other similar official) is appointed to take possession custody

or control of any property of the Borrower; or [sic]

Id.

40. No other actions or events are listed as constituting an event of default under the
September Note. Id.

41. The September Note contains a paragraph 10 which is entitled “Modification;
Waiver.” However, the September Note contains no prohibition against oral modification and
contains no merger or integration clause. Id.

42. The September Note also contains a paragraph regarding right of first refusal which
provides as follows:

12. Right of First Refusal. During the period of time that there is any outstanding

principal or interest due under this Note, at the option of the Holder, the Holder shall

have a First Right of Refusal to participate and obtain fully paid and non-assessable

Units or Shares of either or both ACC INDUSTRIES, INC. and ACC

ENTERPRISES, LLC.
Id.

43. The September Note also contains a paragraph regarding the governing law the
parties selected which provides as follows:

9. Governing Law. This Note shall be governed by and construed under the laws of

the State of Nevada, as applied to agreements among Nevada residents, made

and to be performed entirely within the State of Nevada, without giving effect to

conflicts of laws principles.

See Exhibit 13 at 11 9 (second emphasis added).

44. On September 7, 2016, Mullen admitted that the deal between the parties Was
ongoing, that the Notes did not constitute the entirety of the parties’ agreement, and that Plaintiff
and Solutionary, believed to be the Nevada entity ldelamn referred to as part of the deal, had
reached a subsequent agreement with the Defendants when Mullen stated in his email that the
funding completed to that point included a total of $4,700,000.00 and that “[t]he next step is to
discuss finalizing the equity piece of the deal. I will begin those discussions with [Seltzer].” See
Exhibit 14, emphasis added.

45. Further, ldelman sent a follow up email on September 7, 2016, stating, “All good &

thanks everyone” subsequent to Mullen’s prior email. Id.

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46. On October 4, 2016, Seltzer sent an email to Mullen and ldelman in which Seltzer
stated that “[t]he $700k earmarked for [Parcel 341 pay off to Debbie Brooks has not happened yet as
Howard is trying to work with Debbie to lower our initial payment owed.” See Exhibit 15 to the
Motion. Mullen’s response was “Thanks for the update” and a request for executed copies of the
Notes. Id. Mullen did not suggest this constituted a breach of any agreement Id.

47. Further, because recreational marijuana was not permitted in Nevada at the time of
the parties’ negotiations but the parties believed there was a substantial likelihood that recreational
marijuana would be approved in Nevada in November, 2016.

48. Consistent With Mullen’s and Idelman’s admissions regarding the equity piece of the
deal, the parties agreed upon the deal as set forth in the email chain attached as Exhibit 16, which
included in total nine (9) million dollars, six (6) million dollars coming from Bart Street and
Solutionary as equity in ACC Enterprises and three (3) million dollars coming from Bart Street and
Solutionary as debt, the parties had agreed that Bart Street Would fund Defendants the $4,700,000
prior to the vote in November, 2016 regarding recreational marijuana and the parties further agreed
that the remaining approximately 84,300,000 Would be provided to Defendants by Bart Street and
Solutionary after the vote in November, 2016, provided the vote approved the sale and distribution
of recreational marijuana in Nevada, See Declarations at 11 13.

49. On October 6, 2016, ldelman sent an email to Defendants showing excitement
regarding polls that predicted the recreational use of marijuana would be approved in Nevada, See
Exhibit 17, Defendants continued to update ldelman and Mullen on the status of the vote on the
legalization of recreational marijuana in Nevada because that was the “equity piece of the deal” to
which Mullen had referred in his September 7, 2016 email. See Declarations at 11 14.

50. On October 8, 2016, Mullen thanked Seltzer for the update regarding the legalization
of recreational marijuana in Nevada. See Exhibit 18.

51. On October 16, 2016, Misle emailed ldelman telling him that Misle had been
negotiating the loans to try to get a reduced price for the purchase of Parcel 34. See Exhibit 19.

Idelman’s response was that he “[a]ppreciate[d] the message” and was “happy to get past this

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stuf .” Id. Idelman’s response did not in any way state or suggest that he believed there had been a
breach of the September Note. Id.

52. On October 30, 2016, Seltzer again updated ldelman and Mullen regarding the polls
concerning the legalizations of recreational marijuana in Nevada. See Exhibit 20.

53. On November 9, 2016, Seltzer sent an email to ldelman and Mullen regarding the
fact that recreational marijuana had been approved in Nevada and moving forward with the parties’
agreement. See Exhibit 21. In response, ldelman thanked Seltzer and asked that he be available for
a call as Misle was out of the country. ldelman stated in his email that he “just want[ed] to clarify
something.” Id.

54. Seltzer contacted ldelman at his request, believing the call to be a discussion about
moving forward with the “equity piece” of the deal as Mullen had referred to it. Instead, despite his
statement via email that he simply wanted to clarify something, in the November 9, 2016 call,
ldelman stated that he was breaching the parties’ agreement by demanding a premature return of all
monies and refusing to go forward with the “equity piece” of the deal on which the parties had
already agreed. See Seltzer Declaration at 11 16.

55. Calvada and the ACC Entities filed a complaint against Bart Street on December 14,
2016. A copy of that complaint is attached hereto as Exhibit 22. A First Amended Complaint
adding Solutionary, Inc., as well as additional factual allegations was filed on February 24, 2017.
See Exhibit 23. The First Amended Complaint has been served on Bart Street and is in the process
of being served on Solutionary after opposing counsel refused to accept service on their behalf. See
Exhibit 24, affidavit of service on Bart Street; and Exhibit 25, email from opposing counsel
refusing to accept service.

56. On January 10, 2017, Bart Street filed its complaint in Federal Court (“Complaint”)
(Doc 1). According to the Complaint, the August Promissory Note “controlled how [Defendants]
could use the loan monies.” See Complaint at 11 14. Further, according to the Complaint:

Specifically, [the August Note] required [Defendants] to (i) use $725,000.00 as

operating capital; (ii) pay 825,000.00 to Bart Street as due diligence costs; (iii) pay

$2.2 million dollars to Beverly Pacific, LLC (hereinafter, “BP”) to pay off a prior

loan; (iv) pay $275,000.00 to Insight Media, LLC; and (v) pay $275,000.00 to Hill
Health, LLC,

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See Complaint at 11 14.

57. As set forth above, and in discussions between the parties, Plaintiff knew that the
“operating capital” was to operate the Defendants’ marijuana growing business. See Declarations at
11 16.

58. Further, according to the Complaint, the September Note “controlled how
[Defendants] could use the loan monies.” See Complaint at 11 23. According to the Complaint:

Specifically, [the September Note] required them to (i) use $500,000.00 to acquire

parcel #040-041-35 in Nye County, Nevada (hereinafter, the “35 Parcel”), and (ii)

use $700,000.00 to acquire parcel #040~041-34 `in Nye County, Nevada (hereinafter,

the “34 Parcel”).

See Complaint at 11 23.

59. At the time of the execution of` the September Note, Defendants had informed
Plaintiff on multiple occasions that the purpose of acquiring the two Parcels was to expand and
operate their marijuana growhouse. See Declarations at 11 15,

III. STANDARD OF REVIEW

Under Rule 12(b)(1), Plaintiff bears the burden of establishing by a preponderance of
evidence that the Court has subject matter jurisdiction See Lujan v. Defenders of Wila’life, 504
U.S. 555, 561 (1992); Kelly v. Wengler, 822 F.3d 1085, 1094 (9th Cir. 2016); US Ecology, Inc. v.
U.S. Dep’t of Interior, 231 F.3d 20, 24 (D.C. Cir. 2000). Federal courts are courts of limited
jurisdiction and the law presumes that “a cause lies outside this limited jurisdiction” Kokkonen v.
Guardicm Life Ins. Co. of Am., 511 U.S. 375, 377 (1994); see also General Motors Corp. v.
Environmental Prot. Agency, 363 F.3d 442, 448 (D.C. Cir. 2004) (noting that, “[a]s a court of
limited jurisdiction we begin and end, with an examination of our jurisdiction”). Because subject
matter jurisdiction focuses on the Court’s power to hear the claim, Plaintiff" s factual allegations in
the Complaint “will bear closer scrutiny in resolving a 12(b)(l) motion than in resolving a 12(b)(6)
motion” Grand Loa’ge of Fraternal Ora'er of Police v. Ashcroft, 185 F. Supp. 2d 9, 13-14 (D.D.C.

2001) (internal citation and quotation omitted).

IV. ARGUMENT

A. Solutionary is a necessary and indispensable party and complete relief cannot
he according without Solutionary,

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FRCP 12(b) provides in relevant part:

(b) How to Present Defenses. Every defense to a claim for relief in any pleading
must be asserted in the responsive pleading if one is required. But a party may assert
the following defenses by motion:

(1) lack of subject-matter jurisdiction;

(6) failure to state a claim upon which relief can be granted; and
(7) failure to join a party under Rule 19.

Fed. R. Civ. P. 12 (West 2009). A party may not “avoid the requirement of complete diversity by
failing to join a nondiverse party if that person is ‘indispensable’ to the proper resolution of the
litigation.” Chesapeake & Ohio Ry. Co. v. Certain Underwriters at Lloya"s, Lona'on, 716 F. Supp.
27, 29 (D.D.C. 1989), rev’a’ on other grounds, 910 F.2d 960 (D.C. Cir. 1990) (citz'ng 14 C. Wright,
A. Miller, & E. Cooper, Fea'eral Practice and Procea'ure § 3637 (2d ed. 1986)). Rule 19 sets forth
a two-step analysis for the required joinder of parties. First, courts must determine whether a party is
required and must therefore be joined. Fed. R. Civ. P. 19(a). If so, and if joinder is not feasible, then
the court must next balance the equitable factors set forth in Rule 19(b) to decide if the party is
indispensable such that the action should be dismissed. Fed. R. Civ. P. 19(b).

Further, “[w]here a party required under Rule 19 has not been joined, a party may move for
dismissal under Rule 12(b)(7).” Cabrera-Morales v. UBS Trust Co., 769 F. Supp. 2d 67, 70 (D.P.R.
2011); see also Alto v. Black, 738 F.3d1111, 1126 (9th Cir. 2013).

Further, the Ninth Circuit has recognized the following:

A Rule 19 motion poses “three successive inquiries.” Peaboa'y II, 400 F.3d at 779.
“First, the court must determine whether a nonparty should be joined under Rule
19(a).” Ia’. That nonparty (or “absentee”) is now referred to as a “person required to
be joined if feasible.” If an absentee meets the requirements of Rule 19(a), “the
second stage is for the court to determine whether it is feasible to order that the
absentee be joined.” Ia’. “Finally, if joinder is not feasible, the court must determine
at the third stage whether the case can proceed without the absentee” or whether the
action must be dismissed Ia'. A nonparty in Whose absence an action must be
dismissed is one who “not only [has] an interest in the controversy, but [has] an
interest of such a nature that a final decree cannot be made without either affecting
that interest, or leaving the controversy in such a condition that its final termination
may be wholly inconsistent with equity and good conscience.” Shiela's v. Barrow, 58
U.S. 130, 139, 17 How. 130, 15 L.Ed. 158 (1855).

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E.E.O.C. v. Peaboa'y W. Coal Co., 610 F.3d 1070, 1078 (9th Cir. 2010).

In this case, despite Plaintiff"s failure to admit the truth, Solutionary is necessary and
indispensable under the Ninth Circuit’s required analysis. There is significant email correspondence
from ldelman to Defendants in which ldelman admits that he did agree to “prorated equity with
caveat [sic] that our debt piece conversion rights are good regardless of when we convert and that
if you needed to raise more money then We would have right of first refusal and if we didn’t
convert the [sic] any future dilution would come from you and Howard.” See Exhibit 12 hereto
(emphasis added), August 29, 2016 email correspondence from ldelman to Pete Seltzer (principle of
Calvada) and Howard Misle (principle of the ACC Entities) (referred to herein as the “August 2016
Email”). Why would Idelman, principle of Bart Street, be discussing future dilution if, as Bart
Street currently claims, this Was merely a loan transaction and no subsequent oral modification of
the parties’ agreement took place? And, in fact, Idelman’s August 2016 Email was in response to
an email from Mr. Seltzer earlier that day in which Mr. Seltzer points out that he was told that the
“9 [million dollar] equity deal had changed to 6 [million] equity and 3 [million] debt which Howard
[Misle] agreed too [sic]. In this email I clearly stated we are ok with this but needed to pro rate the
percentage then as original deal called for 20% for 9 [million] and now it was only 6 [million].” Ia’.
Idelman’s response confirms the parties has orally l_nodii”lcd the original loan agreement In
fact, ldelman specifically says that he “did agree to prorated eguitv...” Ia’. Clearly the parties are
talking about an agreement which is different than that alleged in Bart Street’s complaint which only
involves, according to Bart Street, two loans totaling $4.7 million See Complaint at 11 13 (loan of
$3.5 million) and 11 22 (loan of $1.2 million). Yet, in the August 2016 Email ldelman is clearly
acknowledging the agreement between the parties for a total of $9 million. Plaintiff is attempting to
evade its oral modification to the parties’ agreement, an oral modification that included a total of $9
million and the participation of Solutionary, which Would destroy diversity jurisdiction

Further, while it is true that under FRCP 19(a)(1)(A), an absent party is a necessary party if
“in that person’s absence, the court cannot accord complete relief among existing parties.” See

Opposition at p. 3. However, Defendants will be unable to pursue their counterclaims against

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Solutionary3 Which are clearly mandatory as they involve the same transactions that will be litigated
in the instant case Further, there is no dispute that Steven ldelman (“Idelman”), principal of
Plaintiff, corresponded with Defendants on multiple occasions through email using a signature
block on his email Which included the email address slcvcidelmani'ii`),solulionniv.com. Accordingly,
Solutionary is a necessary and indispensable party in this matter.

C. NRS 78.585(1) does not apply in th_is case.

Plaintiff will likely argue that because NRS § 78.585(1) provides for a three year statute of
limitations for dissolved corporations for events that occurred prior to dissolution Plaintiff will
likely argue that once three years have lapsed after a corporation’s dissolution the corporation can
never be sued again under any circumstance This is legally incorrect If Plaintiffs errant reasoning
were adopted it would permit a corporation to be dissolved, wait three years, then be revived and
reinstated M no potential fugre liability whatsoever. Thus, Plaintiff s reading of the statute is
incorrect and does not prevent Solutionary from being joined to this litigation as the necessary and

indispensable party it is

NRS 78.730 provides in relevant part that any corporation which did exist or is existing
under the laws of this State M, upon complying with the provisions of NRS 78.180, procure o
renewal or revival of its charter for any period, together with all the rights, franchises, privileges
and immunities, and subject to all its existing and preexisting debts, duties and liabilities secured or
imposed by its original charter and amendments thereto, or existing charter, by making the required
filings See NRS 78.730. Further, unlike reinstatement, which has a 5-year limited (NRS
78.180(4)), revival has no time limit. Rea’l v. Heller, 120 Nev. 75, 79-80, 85 P.3d 797, 799-800
(2004) (“a corporation seeking reinstatement cannot be reinstated if its charter has remained revoked

for a period of five consecutive years There is no similar restriction on revival. Although a

 

3 As noted in the Motion, and as Plaintiff deliberately omits, ldelman did not mention by name the
Nevada entity Which was a necessary part of the subsequent oral modification to the parties’ loan
agreements During the negotiations regarding the subsequent oral modification ldelman
corresponded with Defendants with a signature block which included the email address
stevcidelnmn(I;DSOIL'ltionarv.com. For ease of reference the entity at issue will be referred to as
Solutionary, although Defendants expressly reserve the right to amend any pleadings necessary to
assert the true name of the entity at issue

 

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corporation cannot be reinstated after five years, there is no provision under NRS 78.730 that
prevents a corporate revival after five years.”).

Thus, under Nevada’s statutes governing corporations Solutionary can be both revived and

 

renewed by simply filing a few documents and paying the proper fees. Thus, any assertion that it is
somehow “factually impossible” for the parties to have discussed Solutionary being part of the
subsequent oral modification to the parties’ agreement is nonsensical and demonstrates either a
complete misunderstanding of Nevada’s statutory corporate structure, or a willingness to attempt to
mislead this Court to believe that a necessary and indispensable party to the parties’ subsequent oral
modification of the loans, and therefore to this lawsuit, does not exist.

Further, while it is true that an absent party may, under certain circumstances, be an entity
who “claims an interest relating to the subject of the action” under FRCP 19(a)(1)(B), that is only
one of multiple ways an entity can be a necessary party to an action Further, as noted above, the
fact that Solutionary is not mentioned on the notes is irrelevant as this case centers around a

subsequent oral modification of the parties original agreement, and Solutionary was involved in

 

that modification See attached Declarations and correspondence

Moreover, Solutionary is absolutely an indispensable party to this litigation Without
Solutionary being joined as a party Defendants will be unable to pursue mandatory counterclaims
against Solutionary for breach of the parties’ subsequent oral modification of the original agreement,
and therefore Plaintiff’s Complaint must be dismissed.

Further, a party asserting improper joinder of another party to defeat diversity jurisdiction
carries a “heavy burden” of persuasion Hunter v. Philip Morris USA, 582 F.3d 1039, 1046 (9th
Cir.2009). “The defendant must demonstrate that there is no possibility that the plaintiff will be
able to establish a cause of action in state court against the alleged sham defendant.” Gooa' v.
Prua’ential Ins. Co. ofAm., 5 F.Supp.2d 804, 807 (N.D.Cal.1998).

Here Bart Street cannot meet this burden In fact, as set forth in the First Amended
Complaint in the state court litigation Defendants have , in fact, established several causes of action
in state court against Solutionary. The “critical question” under Rule 19(b)_and thus the key to

whether a party is “indispensable”_is “‘whether in equity and good conscience’ the action may

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proceed in [the party’s] absence.” B. Fernana’ez & Hnos, Inc. v. Kellogg USA, Inc., 516 F.3d 18, 23
(lst Cir. 2008) (quoting FED. R. CIV. P. 19(b)). Accordingly, because this action cannot proceed

with Solutionary, Defendants’ Motion should be granted.

D. All factors require ioinder of Solutionary and because Solutionarv’s ioinder
would dcstrov t_liversitv il_l_gsdiction. this m_atter m_ust be dismi_ssed.

As noted in the Motion, Rule 19(b) provides four non-exhaustive factors for the trial court to

consider in determining whether a party is indispensable:

(1) the extent to which a judgment rendered in the person’s absence might prejudice
that person or the existing parties;

(2) the extent to which any prejudice could be lessened or avoided by: (A) protective
provisions in the judgment; (B) shaping the relief; or (C) other measures;

(3) whether a judgment rendered in the person’s absence would be adequate; and

(4) whether the plaintiff would have an adequate remedy if the action were dismissed
for non-j oinder.
In deciding a motion to dismiss under Rule 12(b)(7), a court is not limited to the pleadings

and may consider other relevant extra-pleading evidence Hohrz' v. Um'tea' States, 782 F.2d 227, 241
(D.C. Cir. 1986), vacated on other grounds, 482 U.S. 64 (1987); Herbert v. Nat’l Acaa’. of Scis., 974
F.2d 192, 197 (D.C. Cir. 1992); 5C CHARLES ALAN WRIGHT & ARTHUR R. MILLER,
FEDERAL PRACTICE AND PROCEDURE § 1359, at 68 (3d ed. 2004) (WRIGHT & MILLER).
A defendant may move to dismiss a complaint for “failure to join a party under Rule 19.” Fed. R.
Civ. P. 12(b)(7). Courts may consider materials outside the pleadings in resolving a motion to
dismiss under Rule 12(b)(7), Ana'erson v. Hall, 755 F. Supp. 2, 5 (D.D.C. 1991), and consideration
of such materials will not convert the motion into a Rule 56 motion for summary judgment, see
Estes v. Shell Oz'l Co., 234 F.2d 847, 849 n.5 (5th Cir. 1956).

Here, as set forth above, Defendants will be unable to pursue mandatory counterclaims
against Solutionary if it is not named as a plaintiff in this matter. Bart Street has deliberately
excluded Solutionary from this action in violation of FRCP 12(b)(1), 12(b)(7) and 19 and therefore
the Plaintiff` s complaint must be dismissed. All factors set forth in the Rule 19 analysis weigh in

favor of dismissal. Any judgment rendered in Defendants’ favor will not include all parties against

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whom Defendants will be entitled to collect, including Solutionary. Second, there are no measures
that can be taken aside from joining Solutionary, that Would lessen or avoid the damage to
Defendants in not being able to pursue its claims against all applicable entities However, joining
Solutionary as a plaintiff Would destroy the Court’s diversity jurisdiction and therefore the instant
Complaint must be dismissed. Third, as set forth above, no judgment rendered in the absence of the
missing plaintiff/counter-defendant would be adequate Finally, the fourth factor weighs heavily in
favor of dismissal as Bart Street and Solutionary have an adequate remedy in state court in Nevada.
Accordingly, the Motion must be granted and Plaintiff’s Complaint dismissed

E. Under the Colorado River and Bgrford Doctrincs, this C01_1rt shotLl dismiss or

stay the instant action

Filed concurrently with this motion is a motion to dismiss based upon the Colorado River
and Burfora' doctrines, a motion filed by Calvada. Rather than repeat each and every argument, the
ACC Entities hereby incorporate by reference Calvada’s Motion and relief requested as if set forth
in its entirety. ,

F. As set forth above.. this case must be dismissed under FRCP 12(b)(6} for failure
to state a claim as Plaintiff’s theory would reql_iire th_is Col_lrt to enforce an

illegal coutract.

As set forth above, enforcement of Plaintiff’s theory of the Notes at issue would result in the
enforcement of an illegal contract. State law clearly state law provides the rule of decision on the
merits in this case, since - even though this is a breach of contract case -the Plaintiff’s theory of the
purported breach of contract would require this Court to find that a contract for the operation and
expansion of a drug business was enforceable, which it cannot do. See Crockett & Myers, Lta’. v.
Napier, Fitzgerala' & Kirby, LLP., 430 F. Supp. 2d 1157, 1162 (D. Nev. 2006) (“As the Court noted
in its prior Order, Nevada recognizes the rule that “traditionally neither courts of law nor equity will
interpose to grant relief to parties to an illegal agreement.” Shimrak v. Garcia-Mena'oza, 112 Nev.
246, 912 P.2d 822, 825-26 (1996)); Rivero v. Rivero, 125 Nev. 410, 429, 216 P.3d 213, 226 (2009)
(“Parties are free to contract, and the courts will enforce their contracts if they are not

unconscionable, illegal, or in violation of public policy.”). And, in fact, the Plaintiff waived any

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right to federal court by agreeing that the Notes should be “governed by and construed under the
laws of the State of Nevada, as applied to agreements among Nevada residents, made and to be
performed entirely within the State of Nevada, without giving effect to conflicts of laws
principles.” See Exhibits 10 and 13 at 11 9 (second emphasis added).

Further, courts across the country have recognized that where a contract contains a provision
enumerating the events or acts that constitute a default of the contract, such a provision constitutes
the only events that can constitute a breach of the parties’ agreement, For example, in Carte
Blanche (Singapore) Pte. Lta’. v. Carte Blanche Int'l, Lta’., 683 F. Supp. 945, 952-53 (S.D.N.Y.
1988), ajj"'d, 888 F.2d 260 (2d Cir. 1989), the Second Circuit dealt with a franchise agreement which
one party claimed had been breached through use of a name without consent. While the arbitrator
had found that consent should have been requested, they did not find that failure to obtain consent
constituted a breach or even a default under the agreement, and their finding was upheld by the
Second Circuit, which held that “although the arbitrators found that consent should have been
requested, they did not find that failure to obtain such consent was a material breach or an
event of default under the Franchise Agreement. As such, this is not a case of inconsistency
between the findings of the arbitrators and the requirements of the Franchise Agreement.” Ia’.
(emphasis added); see also Elliott Assocz'ates v. Bz'o-Response, Inc., 1989 Del. Ch. LEXIS 63, *10-
11 (Del. Ch. May 23, 1989) (holding that a party’s alleged anticipatory repudiation “would not
constitute a default under the terms of the [Agreement] since Section 6.01 does not list anticipatory
repudiation as an event of default.”); In re Granger, 2009 Bankr. LEXIS 4359, *13, 2009 WL
8467148 (B.A.P. lst Cir. May 6, 2009) (holding that specific remedies available in the case of
defined “events of default” Were unavailable to the plaintiff because defendant’s alleged breach of
contract - obtaining a bankruptcy discharge - was not specifically listed among the other “events of
default”); Cent. Southwest Tex. Dev., LLC v. JPMorgan Chase Bank, N.A., 2012 U.S. Dist. LEXIS
189890, *23 (W.D. Tex. Aug. 21, 2012) (holding that a landlord’s failure to perform under a Lease
“did not constitute an ‘event of default”’ because the contract defined “event of default” to only
include failures to perform that continued for thirty days after notice had been given and the

landlord had never been received notice of its failure to perform); Sport & Health Co. v. Club

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Props. Co., 1999 Va. Cir. LEXIS 563, *12-13 (Va. Cir. Ct. Apr. 27, 1999) (holding that a single
breach of contract was not an “event of default,” because “event of default” was defined to include
two or more breaches).

Here, as noted above, the Notes at issue contain an express provision listing what constitutes
a “default” under the Notes, which provision includes only (1) failure to pay principal due; (2) filing
a bankruptcy petition (3) an involuntary petition being filed against the borrower. See Exhibits 10
and 13 hereto. There is no requirement that the funds be used in the potential manner listed in the
Notes, and that was never the parties’ agreement Under the terms of the Notes, the principal is not
due until September, 2017, and any ambiguity must be construed against the drafter, i.e. Bart Street.
Clearly the Plaintiff cannot fabricate a default and then claim failure to repay amounts falsely
demanded as a breach. Regarding the second and third events which constitute a default, there is no
question that none of the Defendants have filed a bankruptcy petition or had an involuntary petition
filed against them. Because the Complaint does not even allege that the Defendants breached any of
the listed events of default, Plaintiff’ s Complaint must be dismissed pursuant to FRCP 12(b)(6) for

failure to state a claim upon which relief can be granted as well.

V. REQUEST FOR EVIDENTIARY HEARING

In deciding a motion to dismiss under Rule 12(b)(7), a court is not limited to the pleadings
and may consider other relevant extra-pleading evidence Hohri v. Unitea' States, 782 F.2d 227, 241
(D.C. Cir. 1986), vacated on other grounds, 482 U.S. 64 (1987); Herbert v. Nat’l Acaa'. of Scis., 974
F.2d 192, 197 (D.C. Cir. 1992); 5C CHARLES ALAN WRIGHT & ARTHUR R. MILLER,
FEDERAL PRACTICE AND PROCEDURE § 1359, at 68 (3d ed. 2004) (WRIGHT & MILLER).
A factual attack on subject matter jurisdiction may be accompanied by extrinsic evidence St. Claz'r
v. Cily of Chico, 880 F.2d 199, 201 (9th Cir. 3 *3 1989); Trerltacosta v. Frontier Pac. Aircraft
Indus., Inc., 813 F.2d 1553, 1558 (9th Cir. 1987). The opposing party must then "present affidavits
or any other evidence necessary to satisfy its burden of establishing that the court, in fact, possesses
subject matter jurisdiction." St. Clair, 880 F.2d at 201. When considering a factual attack on subject

matter jurisdiction "the district court is ordinarily free to hear evidence regarding jurisdiction and to

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rule on that issue prior to trial, resolving factual disputes where necessary." Augustine v. Unitea’
States, 704 F.2d 1074, 1077 (9th Cir. 1983). "No presumptive truthfulness attaches to plaintiffs
allegations, and the existence of disputed material facts will not preclude the trial court from
evaluating for itself the merits of jurisdictional claims."
Thornhz'll Pub. Co. v. Gerl. Tel. & Elecs. Corp., 594 F.2d 730, 732 (9th Cir. 1979) (quoting
Morterlsen v. First Fed. Sav. Loan Ass'n, 549 F.2d 884, 891 (3rd Cir. 1977)).

Further, a defendant may move to dismiss a complaint for “failure to join a party under Rule
19.” Fed. R. Civ. P. 12(b)(7). Courts may consider materials outside the pleadings in resolving a
motion to dismiss under Rule 12(b)(7), Ana'erson v. Hall, 755 F. Supp. 2, 5 (D.D.C. 1991), and
consideration of such materials will not convert the motion into a Rule 56 motion for summary
judgment, see Estes v. Shell Oil Co., 234 F.2d 847, 849 n.5 (5th Cir. 1956).

Moreover, as courts have recognized,

Under Rule 12(b), a “speaking” motion i.e., a motion that includes evidentiary
matters outside the pleadings, is properly converted to a Rule 56 motion only when
it is made under Rule 12(b)(6): failure to state a claim.4

Kamen v. Am. Tel. & Tel. Co., 791 F.2d 1006, 1010-11 (2d Cir. 1986) (emphasis added). Thus, as
the court in Southport Lane Equily II, LLC v. Downey, 177 F. Supp. 3d 1286, 1295 (D. Nev. 2016)
did, this Court can review evidence which relates only to jurisdictional issues without converting the
Motion into one for summary judgment, Accordingly, in the event the Court is not inclined to grant
Defendants’ Motion, Calvada respectfully requests an evidentiary hearing and discovery on the
issues solely relating to whether this Court has subject matter jurisdiction in this case, including but
not limited to discovery from ldelman and Bart Street regarding Solutionary and/or any other

Nevada entity made part of the parties’ subsequent modification of their agreement,

VII. CONCLUSION

For all these reasons, Defendants respectfully request that this Court grant their motion to

 

4 While the ACC Defendants do move in part under FRCP 12(b)(6) to dismiss the Complaint, that
portion of the Defendants’ argument is not dependent on any documents outside the Complaint
and the attached exhibits and therefore cannot be

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dismiss, and grant such other and further relief as the Court deems appropriate and necessary

DATED this 24th day of March, 2017.

   
 

FENNEMO

 

evin Hejl owsl<i (Nevada Bar No. 10612)
300 Soutl ourth Street, Suite 1400
Las Vegas, Nevada 89101
Attorneys for Defendants

och%{lirf'(lqevada Bar No. 10282) `

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CERTIFICATE OF SERVICE
I hereby certify that on the 24th day of March, 2017, I served a copy of the foregoing
DEFENDANTS ACC ENTERPRISES, LLC, AND ACC INDUSTRIE§1 INC.’S MOTION
T() DISMISS upon the parties to this action via electronic service pursuant to the U.S. District

Court CM/ECF filing system.

Daniel R. McNutt, Esq.
Carbaj al & McNut, LLP
625 South Eighth Street
Las Vegas, Nevada 89101

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Attorrleys for Bart Street III

/s/ Adrina Harris
An employee of Fennemore Craig, P.C.

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